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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC                       §
                                      §
      Plaintiff,                      §                   Case No:   1:19-cv-11000
                                      §
vs.                                   §                   JURY TRIAL DEMANDED
                                      §
SKYCORE LLC                           §
                                      §
      Defendant.                      §
_____________________________________ §

                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to F.R.C.P. 7.1 and Local Rule 7.3, Plaintiff Scanning Technologies

Innovations, LLC (“Plaintiff” or “STI”) hereby states:

   1. Plaintiff STI does not have a parent corporation and no publicly held companies own

       10% or more of its stock.

Dated: April 30, 2019                Respectfully submitted,

                                         /s/ David A. Chavous
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